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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION

HSBC Bank Middle East Limited, a Jersey
Limited Liability Company,

Plaintiff,

vs Case No. 2:15-cv-13266-BAF-APP

Waleed M. Yaghmour,

Defendant.

Richard E. Zuckerman (P26521)
Honigman Miller Schwartz and Cohn LLP
2290 First National Building

660 Woodward Avenue

Detroit, MI 48226-3506

(313) 465-7618

Attorneys for Plaintiff HSBC Bank Middle
East Limited, a Jersey Limited Liability
Company

 

MOTION FOR ENTRY OF JUDGMENT
Plaintiff HSBC Bank Middle East Limited (HBME), for its Motion for Entry of
Judgment pursuant to Rule 58 of the Federal Rules of Civil Procedure and Local

Rule 58.1(d), states as follows:

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1. Through its Opinion and Order (Doc. No. 14) entered on March 18, 2016,
this Court Granted HBME’s motion for summary judgment in this
declaratory judgment action.

2. The Court directed HBME to submit a proposed declaratory judgment for
the Court’s review.

3. Contemporaneously with the filing of this Motion, HBME has submitted a
proposed judgment through the Court’s procedures for submission of
proposed orders.

4. HBME respectfully requests entry of the proposed judgment pursuant to

Local Rule 58.1(d).

Respectfully submitted,

HONIGMAN MILLER SCHWARTZ
AND COHN LLP

Attorneys for Plaintiff HSBC Bank
Middle East Limited, a Jersey Limited
Liability Company

By: /s/ Richard E. Zuckerman
Richard E. Zuckerman (P26521)
2290 First National Building
660 Woodward Avenue
Detroit, MI 48226-3506
(313)465-7618
Dated: April 6, 2016

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CERTIFICATE OF SERVICE

I hereby certify that on April 6, 2016 I caused the foregoing Plaintiffs
Motion for Entry of Judgment to be filed via the ECF system and to be sent to
Defendant via U.S. Mail at the following address:

Waleed M. Yaghmour

48259-039

Morgantown Federal Correctional Institution
Inmate Mail/Parcels

P.O. Box 1000

Morgantown, WV 26507

By: /s/ Richard E. Zuckerman
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